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PROBER & RAPHAEL, A LAW CORPORATION
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C.241-5679.NF


                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF COLORADO


In re                                                Bk. No. 17-11810-MER

Judith Jean Schneider,                               Chapter 13

         Debtor.
                                               /

                               REQUEST FOR SPECIAL NOTICE

        IT IS HEREBY REQUESTED that copies of any documents, pleadings or Orders for which

claimant Wilmington Savings Fund Society, FSB, as trustee of Stanwich Mortgage Loan Trust A,

its assignees and/or successors in interest, is entitled to service or notice, with regard to the real

property described as 4316 E 113th Place, Thornton, Colorado 80233 (Loan No. XXXX8393), and

that a courtesy copy also be sent to:

                       PROBER & RAPHAEL, A LAW CORPORATION
                            20750 Ventura Boulevard, Suite 100
                             Woodland Hills, California 91364

        This does not constitute a general appearance for any purpose and is not a waiver of any

service requirements, under applicable law, including, but not limited to Bankruptcy Rule 7004.

Dated: September 15, 2017               By /s/ Dean R. Prober
                                          DEAN R. PROBER, ESQ., CA BAR # 106207
                                        As Agent for Claimant




                                                          1
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                                       PROOF OF SERVICE

               STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:

               I, Marine Gaboyan, certify that I am a resident of the County aforesaid; I am over

the age of 18 years and not a party to the within action; my business address is 20750 Ventura

Boulevard, Suite 100, Woodland Hills, California 91364.

               On 09/19/17, I served the within REQUEST FOR SPECIAL NOTICE on all

interested parties in this proceeding by placing true and correct copy thereof enclosed in a sealed

envelope with postage prepaid in the United States Mail at Woodland Hills, California, addressed as

follows:

Judith Jean Schneider
4316 East 113th Place
Thornton, CO 80233
Debtor

Thomas A. Arany, Esquire
1401 17th St., Ste. 300
Denver, CO 80202
Attorney for Debtor

Michael J. Watton
700 N. Water St., Ste. 500
Milwaukee, WI 53202
Attorney for Debtor

Sally Zeman
P.O. Box 1169
Denver, CO 80201
Chapter 13 Trustee

               I declare that I am employed in the office of a member of the Bar at whose direction

this service was made.

               I certify under penalty of perjury that the foregoing is true and correct.

               Executed on 09/19/17, at Woodland Hills, California.


                                               /s/ Marine Gaboyan




                                                           2
